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                               UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                           CRIMINAL MINUTE SHEET
USA v.        PABLO RAZO FIERRO                                                                 Mag. Judge: Phillip J. Green

    CASE NUMBER                           DATE                 TIME (begin/end)                 PLACE                  INTERPRETER


    1:12-cr-98 (RHB)                    July 2, 2015                2:34 - 3:38 pm           Grand Rapids        Ellen Donohue on Standby


APPEARANCES:
Government:                                                   Defendant:                                        Counsel Designation:
Nils Kessler                                                  Britt Cobb                                        Retained


            OFFENSE LEVEL                                   CHARGING DOCUMENT/COUNTS                               CHARGING DOCUMENT
                                                                                                                 Read
Felony                                          Indictment, Count(s) 1-2                                         Reading Waived    ✔



              TYPE OF HEARING                                           DOCUMENTS                                 CHANGE OF PLEA
                                                       ✔   Defendant's Rights
    First Appearance                                                                                    Guilty Plea to Count(s)
✔   Arraignment:                                           Waiver of                                    of the
            mute              nolo contendre               Consent to Mag. Judge for
        ✔                     guilty                                                                    Count(s) to be dismissed at sentencing:
            not guilty
                                                           Other:
✔   Initial Pretrial Conference
                                                                                                        Presentence Report:
✔   Detention            (waived    )                                                                          Ordered      Waived
    Preliminary      (waived        )                  Court to Issue:                                      Plea Accepted by the Court
    Rule 5 Proceeding                                     Report & Recommendation
                                                                                                            No Written Plea Agreement
                                                       ✔ Order of Detention
    Revocation/SRV/PV
                                                          Order to file IPTC Statements
    Bond Violation                                                                                            EXPEDITED RESOLUTION
                                                          Bindover Order
    Change of Plea                                        Order Appointing Counsel                          Case appears appropriate for
    Sentencing                                            Other:                                            expedited resolution
    Other:

                   ADDITIONAL INFORMATION                                                                  SENTENCING
Testimony of William Brown - Gov't witness and, Elizabeth                            Imprisonment:
Melgarago - Deft witness                                                             Probation:
                                                                                     Supervised Release:
Govt's Motion [9] granted
                                                                                     Fine: $
                                                                                     Restitution: $
                                                                                     Special Assessment: $
                                                                                     Plea Agreement Accepted:             Yes    No
                                                                                     Defendant informed of right to appeal:         Yes    No
                                                                                     Counsel informed of obligation to file appeal:  Yes    No


                    CUSTODY/RELEASE STATUS                                                       BOND AMOUNT AND TYPE

Detained                                                                      $

CASE TO BE:              Referred to District Judge                           TYPE OF HEARING: Further Proceedings

Reporter/Recorder:             Digitally Recorded                            Courtroom Deputy:              D. Hand
